           Case 13-17864-mdc          Doc 132 Filed 01/15/19 Entered 01/15/19 10:50:23                    Desc
                                            CloseOrder Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                           : Chapter 13


Annette Picciano                                                 : Case No. 13−17864−mdc
               Debtor(s)


                                                    ORDER
                                 _____________________________________________


         AND NOW, this day , January 15,2019 , it appearing that the trustee in the above

entitled matter has filed his report and that the trustee has performed all other duties required

in the administration of the debtor(s) estate, it is



         ORDERED that the trustee be discharged and relieved of any trust; and this case be, and

the same hereby is, closed.



                                                                 By The Court

                                                                 Magdeline D. Coleman
                                                                 Judge , United States Bankruptcy Court




                                                                                                                      132
                                                                                                                 Form 195
